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PLAINTIFFS DEFENDANTS
HIATT, Charles, Executor of the | — USA |

Estate of Peter Hiatt, Deceased

CAUSE

28 USC 2671 Wrongful death caused by negligent acts and failure to act on
part of the doctor employed by Public Health Service

JMH

 

David L. Bergren

Bergren & Duffy

Box 7

Ft. Pierre, S. Dak. 57732
223~2527

ATTORNEYS

Peter J. Horner

 

CHECK

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HERE DATE

RECEIPT NUMBER C.D. NUMBER

 

 

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IF CASE WAS
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Case 3:76-cv-03026 Document1 Filed 12/30/02 Page 2 of 2 PagelD #: 2

 

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PROCEEDINGS

 

 

 

 

 

 

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1o76
May 11/1 | Filing Civil Cover Sheet
May 11) 2 (Filing Complaint
May il Issuing Summons. Fur. 3 copies for service and del. summons and com-
plaint to Marshal in Rapid City personally
May 20 | 3 |Summons for U.S. returned and filed
July 19 4 |Filing Stipulation and Order of Enlargement of Time to Answer
July 19 Notice of Entry and copy of Stipulation and Order miled David Bergren
Co and Peter Horner
July 23'5 |Filing Answer
Aug. 11 6 |Filing Interrogatories to Plaintiff
1977
Jan. 6| 7 |Filing Answer of Plaintiff to Defendant's Interrogatories
1979
Feb.23| 8 | PRETRIAL Order For Court Trial filed
Feb, 23 Notice of Entry and copy of Pretrial Order mailed to David Bergren
and U.S. Attorney's Office, SF
Feb.23| 9 | NOTICE Of Court Trial (4/9/79) filed
Nov. 15}10; Stipulation amrkxGuxdesx dismissing case & for Dfdt. to pay Plff. $500
Nov. 15| 1] |Order° dismissing case & for Dfdt. to pay Plff. $500 filed
Nov. 15 Notice of Entry and copy of order mailed to David L. Bergren and
Peter J. Horner.
Nov. 15 Enter Memo of Judgment in J.L.D.
1980
May 2 |12/Release of Tort Claim Against the United States of America filed
May 2 | 13|Stipulation and Order of Dismissalwith prejudice filed
May 2 Notice of Entry and copy of Stipulation and Order mailed David Bergren

and U.S. Atty.

 

 
